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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION


LORENZO VENSON,

                               Petitioner,

v.                                                    CIVIL ACTION NO. 2:05-cv-00454
                                                      (Criminal No. 2:01-cr-00261-06)

UNITED STATES OF AMERICA,

                               Respondent.


                          MEMORANDUM OPINION AND ORDER

        Pending before the court is the petitioner’s Motion to Vacate, Set Aside or Correct Sentence

pursuant to 28 U.S.C. § 2255 [Docket 713]. This action was referred to the Honorable Mary E.

Stanley, United States Magistrate Judge, for submission to this court of proposed findings of fact

and recommendation for disposition, pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge

has submitted findings of fact and recommended that the court grant the petitioner’s § 2255 motion.

        The petitioner timely filed written objections to the Magistrate Judge’s findings of fact and

recommendation [Docket 803]. Petitioner stated that he had no objections to the Magistrate Judge’s

findings and recommendation if this court chooses to adopt the same. If, however, the court chooses

not to adopt the findings and recommendation, Mr. Venson asks the court for a de novo review of

all of his claims.

        Having reviewed the petitioner’s claims de novo, the court FINDS that they are without

merit. Additionally, the court has reviewed the Magistrate Judge’s findings and recommendation
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and FINDS, for reasons stated herein, that the Magistrate Judge’s recommendation on petitioner’s

fourth ground for relief contains a clear error of law.

I. Factual Background

       In September of 2002, a federal grand jury charged the petitioner and six others with various

controlled substance offenses in a twelve count superseding indictment. Petitioner was charged with

one count of conspiracy to distribute and possess with intent to distribute more than 50 grams of

cocaine base, more than five kilograms of cocaine, and more than 100 kilograms of marijuana in

violation of 21 U.S.C. § 846 (Count Two). Attorney Herbert L. Hively was appointed to represent

the petitioner on those charges.

       On December 16, 2002, petitioner waived his right to indictment and entered a guilty plea

pursuant to a written plea agreement, to a one count Information alleging conspiracy to distribute

an unspecified quantity of cocaine. The court conducted petitioner’s sentencing hearings on July 1

and July 22, 2003. After considering testimony from several of petitioner’s co-conspirators, the court

found the petitioner’s base offense level to be 34, based on a finding that at least 15 kilograms but

less than 50 kilograms of cocaine powder were attributable to Mr. Venson. Following an appropriate

Guideline calculation, the court sentenced petitioner to a term of 121 months imprisonment followed

by a three-year term of supervised release.

       Petitioner filed a consolidated appeal of his sentence along with his co-defendant, Derick A.

Geiger, in the United States Court of Appeals for the Fourth Circuit. Petitioner challenged the

amount of relevant conduct attributed to him. On May 4, 2004, the Fourth Circuit affirmed the

petitioner’s sentence in its entirety. United States v. Venson, 96 Fed. App’x 863 (4th Cir. May 4,

2004) (per curiam) (unpublished).


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       In accordance with his duties pursuant to the Fourth Circuit’s implementation of the Criminal

Justice Act of 1984 ("CJA plan"),1 Mr. Hively sent Mr. Venson a letter on May 5, 2004, stating

"Please advise if you wish to petition to the United States Supreme Court" (Resp., Ex. I). Mr.

Venson asserts that he contacted Mr. Hively by telephone and letter upon learning of the Blakely v.

Washington, 542 U.S. 296 (2004) decision and requested that counsel file a petition for writ of

certiorari. (Petr.’s Mem. in Supp. of Mot. 26–27.) Mr. Venson further asserts that counsel eventually

assured him that counsel would prepare and file a timely petition for writ of certiorari and send a

copy to petitioner. (Id.) Mr. Hively neither moved in the Fourth Circuit for re-hearing en banc, nor

filed a timely petition for a writ of certiorari.2 Mr. Hively has no record or recollection of Mr.

Venson notifying him of his wish to file a petition for writ of certiorari. (Hively Aff. ¶ 4.)

       On June 2, 2005, the petitioner, acting pro se, filed the instant § 2255 motion alleging the

following grounds for relief: (1) breach of the plea agreement by the government; and ineffective

assistance of counsel based on counsel’s failure to contest the breach; (2) illegal and unconstitutional

sentence; and ineffective assistance of counsel for failing to properly contest the sentence; (3) the

court was without jurisdiction to impose a Guideline sentence; and (4) the integrity and fundamental

fairness of this criminal proceeding has been effected by counsel’s failure to adhere to his promise

[by failing to file a petition for writ of certiorari to the Supreme Court].




       1
         See Plan of the United States Court of Appeals for the Fourth Circuit, In Implementation
of the Criminal Justice Act, § V, P 2 (July 14, 2005); Criminal Justice Act, 18 U.S.C. § 3006A
(2006).
       2
          See Sup. Ct. R. 13 (allowing ninety days from the issuance of the judgment or order sought
to be reviewed for submission of a writ of certiorari).

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II. Discussion

       The Magistrate Judge found that the petitioner is not entitled to collateral relief on grounds

one, two, and three asserted in his § 2255 motion. The Magistrate Judge did, however, recommend

that the court grant relief on ground four of the motion. The Magistrate Judge found that Mr.

Hively’s representation of Mr. Venson fell below an objective standard of reasonableness in that he

failed to preserve the defendant’s right to pursue his direct appeal to the United States Supreme

Court. Thus, the Magistrate Judge concluded that the petitioner was denied effective assistance of

counsel in connection with his post-Blakely appeal and he suffered prejudice because there is a

reasonable probability that, but for counsel’s unprofessional error, the result of the proceeding would

have been different and petitioner’s case likely would have been remanded for proceedings

consistent with Booker. (Prop. Find. & Rec. 23.) The court disagrees with the Magistrate Judge’s

findings and recommendation only with respect to the finding on ground four of petitioner’s motion.

       Mr. Hively informed petitioner of his right to file a petition for certiorari, but his

representation went no further to preserve petitioner’s direct appeal. Though Mr. Hively may have

been advised by petitioner that he wished to have Mr. Hively file a petition for writ of certiorari in

light of Blakely, Mr. Hively did not follow through. Assuming it is true that Mr. Hively assured

petitioner that he would timely file a petition for writ of certiorari on Mr. Venson’s behalf, it may

have been unreasonable for counsel to fail to act.

       Nevertheless, the competency of appellate counsel’s representation of Mr. Venson is

irrelevant in this case unless petitioner can make out a valid constitutional claim. Before I can decide

whether Mr. Venson was deprived of the constitutional right to the effective assistance of counsel,

I must first determine whether he had this right in the first place.


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       The constitution guarantees a criminal defendant the right to the effective assistance of

counsel on his first appeal as of right. Evitts v. Lucey, 469 U.S. 387 (1985). But the constitution

does not require counsel be provided to a defendant seeking to file a certiorari petition in the United

States Supreme Court. Ross v. Moffitt, 417 U.S. 600, 617–18 (1974). Mr. Venson’s assertion of a

right to the effective assistance of counsel must rest on one of two premises. He must argue either

that (1) a constitutional right to the effective assistance of counsel can exist even when there is no

constitutional right to counsel; or (2) counsel’s advice is properly characterized as advice in his

continuing role as direct appellate counsel, not certiorari counsel.

       I must reject the first argument. In Wainwright v. Torna, 455 U.S. 586 (1982) (per curiam),

the Supreme Court made clear that the right to effective assistance of appellate counsel is derived

entirely from the constitutional right to appellate counsel and the former cannot exist where the latter

is absent. The Court stated, "Since respondent had no constitutional right to counsel, he could not

be deprived of the effective assistance of counsel." Id. at 587–88. Torna applied to state criminal

defendants pursuing discretionary state appeals, but "it is impossible to escape the conclusion that

the logic of Torna is equally applicable to petitions for certiorari: because Moffitt found there to be

no right to counsel in connection with the filing of certiorari petitions, there must be no

corresponding right to the effective assistance of counsel." Miller v. Keeney, 882 F.2d 1428, 1432

(9th Cir. 1989).

       As Judge Kozinski stated in Miller, "Torna which compels the result in this case, rests on

a single proposition: If a state is not constitutionally required to provide a lawyer, the constitution

cannot place any constraints on that lawyer’s performance." Id. (internal citations omitted). I agree

with Judge Kozinski that whatever the soundness of this logic, it has not commanded the Court’s


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respect in other areas of the law. See, e.g., Goldberg v. Kelly, 397 U.S. 254 (1970) (although the

constitution does not require a state to assist the indigent, if it chooses to do so it must comport with

the requirements of due process); Widmar v. Vincent, 454 U.S. 263 (1981) (although the constitution

does not require a state university to create a forum generally open for use by student groups, once

it has done so it may not discriminate against forms of speech protected by the first amendment).

Judge Kozinski continues:
        Moreover, we cannot overlook the irony inherent in the fact that while the
        constitution does not require a state to provide any direct appeals at all, Lucey, 469
        U.S. at 393; McKane v. Durston, 153 U.S. 684 (1894), once it has done so a number
        of constitutional requirements spring into place: The state must provide free
        transcripts to indigent appellants, Griffin v. Illinois, 351 U.S. 12 (1956); cannot
        require indigent appellants to pay a filing fee, Burns v. Ohio, 360 U.S. 252 (1959);
        and must provide an attorney, Douglas v. California, 372 U.S. 353 (1963). Why the
        provision of appellate counsel beyond the first appeal as of right should be treated
        any differently is not self-evident.
Miller, 882 F.2d at 1432. Nevertheless, it is what the Supreme Court has held, and it applies to this

case as it applied in Miller. Because Mr. Venson had no constitutional right to counsel in

connection with the filing of a certiorari petition, he had no constitutional right to the effective

assistance of counsel for that purpose.

        I now turn to the second argument, that the right to counsel continues to exist in the period

between losing a direct appeal and filing for discretionary review, so that his attorney was still

performing the role of direct appellate counsel when he failed to file the petition within the

applicable time limit and did not advise Mr. Venson to file a certiorari petition himself.3 This

argument is squarely foreclosed by Torna. 455 U.S. at 586. Torna denied the right to counsel to



        3
         Unlike the mandatory jurisdiction that the United States Courts of Appeals have in first
criminal appeals of right, "[r]eview on a writ of certiorari is not a matter of right, but of judicial
discretion." Sup. Ct. R. 10 (2006).

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a defendant whose petition for discretionary review to the Florida Supreme Court was filed too late.

Id. at 588. "If Torna’s right to counsel did not extend to the late filing of a petition for discretionary

review, it is difficult to discern a principle according to which the right to counsel could extend to

failure to file such a petition altogether." Miller, 882 F.2d at 1432.

        Though the constitution does not require appellate counsel to continue representation beyond

a first appeal of right, the Fourth Circuit’s CJA plan does under certain circumstances. Under the

Fourth Circuit’s CJA plan, appointed attorneys have a duty to pursue certiorari review, if requested

by their clients, so long as counsel believes the petition would not be frivolous. See Austin v. United

States, 513 U.S. 5, 8 (1994); Proffitt v. United States, 549 F.2d 910 (4th Cir. 1976), cert. denied, 429

U.S. 1076 (1977). Specifically, the plan provides that "counsel shall inform the defendant, in

writing, of his right to petition the Supreme Court for a writ of certiorari. If the defendant, in writing,

so requests and in counsel’s considered judgment there are grounds for seeking Supreme Court

review, counsel shall prepare and file a timely petition for such a writ and transmit a copy to the

defendant." CJA Plan § V, ¶ 2. The requirements imposed upon attorneys by the CJA plan, however,

do not create Sixth Amendment rights in the represented.

        Mr. Hively may have failed to abide by the dictates of the Fourth Circuit’s CJA plan by

failing to file the petition if he was requested to do so. Nevertheless, Mr. Hively was no longer

acting as counsel for petitioner’s first appeal as of right; that appeal was over and with it Mr.

Venson’s right to effective assistance of counsel. Miller, 882 F.2d at 1433. Mr. Hively’s failure to

pursue discretionary review was not a violation of Mr. Venson’s constitutional rights and therefore

cannot give rise to an ineffective assistance of counsel claim. Indeed, the Supreme Court has held

that "In the absence of a constitutional violation, the petitioner bears the risk in federal habeas for


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all attorney errors made in the course of the representation . . . ." Coleman v. Thompson, 501 U.S.

722, 754 (1991). Accordingly, the Court held that a petitioner can succeed with an ineffective

assistance of counsel claim "only if it is an independent constitutional violation." Id. I FIND that

Mr. Venson was not denied the constitutional right to the effective assistance of counsel when his

counsel failed to file a certiorari petition because the constitution guarantees him no such right. I

FIND, therefore, that a claim for ineffective assistance of counsel cannot be maintained for

counsel’s failure to comply with the Fourth Circuit’s CJA plan.

         The court ADOPTS and incorporates herein the Magistrate Judge’s findings and

recommendation on the first, second, and third grounds for relief asserted in petitioner’s motion. The

court FINDS, however, that an error of law apparent on its face exists with respect to the Magistrate

Judge’s finding that the petitioner had ineffective assistance of counsel in pursuing discretionary

review. Upon de novo review, the court FINDS that petitioner cannot sustain a claim for ineffective

assistance of counsel on discretionary review. Accordingly, the court DENIES the movant’s Motion

to Vacate, Set Aside, and Correct Sentence in its entirety.

       The court DIRECTS the Clerk to send certified copies of this Memorandum Opinion and

Order to Magistrate Judge Stanley, counsel of record and to petitioner, pro se.



                                               ENTER:         February 12, 2007




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